Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 1 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 2 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 3 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 4 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 5 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 6 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 7 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 8 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 9 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 10 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 11 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 12 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 13 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 14 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 15 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 16 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 17 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 18 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 19 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 20 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 21 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 22 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 23 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 24 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 25 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 26 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 27 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 28 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 29 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 30 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 31 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 32 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 33 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 34 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 35 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 36 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 37 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 38 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 39 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 40 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 41 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 42 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 43 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 44 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 45 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 46 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 47 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 48 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 49 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 50 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 51 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 52 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 53 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 54 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 55 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 56 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 57 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 58 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 59 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 60 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 61 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 62 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 63 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 64 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 65 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 66 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 67 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 68 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 69 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 70 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 71 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 72 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 73 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 74 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 75 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 76 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 77 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 78 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 79 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 80 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 81 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 82 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 83 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 84 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 85 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 86 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 87 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 88 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 89 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 90 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 91 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 92 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 93 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 94 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 95 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 96 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 97 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 98 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 99 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 100 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 101 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 102 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 103 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 104 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 105 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 106 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 107 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 108 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 109 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 110 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 111 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 112 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 113 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 114 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 115 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 116 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 117 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 118 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 119 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 120 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 121 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 122 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 123 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 124 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 125 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 126 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 127 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 128 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 129 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 130 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 131 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 132 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 133 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 134 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 135 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 136 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 137 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 138 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 139 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 140 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 141 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 142 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 143 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 144 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 145 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 146 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 147 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 148 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 149 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 150 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 151 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 152 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 153 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 154 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 155 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 156 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 157 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 158 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 159 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 160 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 161 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 162 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 163 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 164 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 165 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 166 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 167 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 168 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 169 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 170 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 171 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 172 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 173 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 174 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 175 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 176 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 177 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 178 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 179 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 180 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 181 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 182 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 183 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 184 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 185 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 186 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 187 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 188 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 189 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 190 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 191 of 192
Case 4:22-cv-00302-RH-MAF Document 26 Filed 08/31/22 Page 192 of 192
